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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION
             _____________________________________________

KERMIT POULSON,                               CV 10-100-M-DWM-JCL

                   Plaintiff,
             vs.

WENDY, in UC BUILDING,                        ORDER, and FINDINGS AND
UNIVERSITY OF MONTANA,                        RECOMMENDATION
                                              OF U.S. MAGISTRATE JUDGE
                  Defendants.
              _____________________________________________

I. INTRODUCTION AND IN FORMA PAUPERIS APPLICATION

      Plaintiff Kermit Poulson (“Poulson”) has filed a Complaint together with a

request to proceed in forma pauperis. Poulson submitted a declaration that makes

the showing required by 28 U.S.C. § 1915(a). Because it appears Poulson lacks

sufficient funds to prosecute this action IT IS HEREBY ORDERED that his

Motion to Proceed In Forma Pauperis is GRANTED. This action may proceed

without prepayment of the filing fee, and the Clerk of Court is directed to file the

Complaint as of the filing date of Poulson’s request to proceed in forma pauperis.

      The federal statute under which leave to proceed in forma pauperis is

permitted also requires the Court to conduct a preliminary screening of the

allegations set forth in the Complaint. The statute states as follows:

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      (2) Notwithstanding any filing fee, or any portion thereof, that may have
      been paid, the court shall dismiss the case at any time if the court determines
      that–

            (A) the allegation of poverty is untrue; or

            (B) the action or appeal–

                   (I) is frivolous or malicious;

                   (ii) fails to state a claim on which relief may be granted; or

                   (iii) seeks monetary relief against a defendant who is immune
                   from such relief.

28 U.S.C. § 1915(e)(2). Accordingly, the Court will review Poulson’s Complaint

to consider whether it can survive dismissal under these provisions. See Huftile v.

Miccio-Fonseca, 410 F.3d 1136, 1138, 1142 (9th Cir. 2005).

II. PLAINTIFF’S ALLEGATIONS

      Poulson commenced this action following an incident which occurred on

August 25, 2010, in the UC Campus Building at the University of Montana.

Poulson states that an individual named Wendy “accosted” him verbally, thereby

violating his “right to pursue happiness[.]” Wendy also interfered with Poulson’s

service dog by “yelling ‘get your pet’ out of the building.” Poulson contends

Wendy “violated Montana state code annotated to service dogs.”




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      Poulson alleges Wendy’s conduct caused him to suffer injuries. He asserts

Wendy publically humiliated him, scared his service dog, interfered with his

service dog, and caused his service dog to run into a rail. Poulson also states that

Wendy’s interference with his dog caused his dog to react and pull him out of his

chair, and caused his dog not to obey him. Poulson’s hands got cut in the process,

and he states he was emotionally upset due to Wendy’s belligerence. He contends

this conduct on the part of Wendy “violated [his] constitutional freedoms.”

      Poulson seeks recovery of compensatory damages for his injuries. He seeks

either monetary compensation, or payment of his full tuition. He also requests an

apology for the conduct described in his Complaint.

III. DISCUSSION

      Because Poulson is proceeding pro se the Court must construe his pleading

liberally, and the pleading is held "to less stringent standards than formal

pleadings drafted by lawyers[.]” Haines v. Kerner, 404 U.S. 519, 520 (1972). See

also Neitzke v. Williams, 490 U.S. 319, 330 n.9 (1989). Although the Court has

authority to dismiss a defective pleading pursuant to 28 U.S.C. § 1915(e)(2),

      a district court should grant leave to amend even if no request to amend the
      pleading was made, unless it determines that the pleading could not possibly
      be cured by the allegation of other facts.




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Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (quoting Doe v. United States,

58 F.3d 494, 497 (9th Cir. 1995)).

       In addition to the grounds for dismissal set forth in 28 U.S.C. § 1915(e)(2)

above, Poulson’s Complaint must set forth sufficient allegations to invoke the

jurisdiction of this Court. Fed. R. Civ. P. 8(a)(1).1

       Federal courts are courts of limited jurisdiction. They possess only that
       power authorized by Constitution and statute[.]... It is to be presumed that a
       cause lies outside this limited jurisdiction,... and the burden of establishing
       the contrary rests upon the party asserting jurisdiction[.]

Kokkonen v. Guardian Life Ins. of America, 511 U.S. 375, 377 (1994) (citations

omitted). A plaintiff bears the burden to establish jurisdiction. Farmers Ins. Ex. v.

Portage La Prairie Mut. Ins. Co., 907 F.2d 911, 912 (9th Cir. 1990). The federal

courts are obligated to independently examine their own jurisdiction. FW/PBS,

Inc. v. City of Dallas, 493 U.S. 215, 231 (1990). And a district court may dismiss

an action sua sponte whenever it appears that jurisdiction is lacking. Fed. R. Civ.

P. 12(h)(3); Fiedler v. Clark, 714 F.2d 77, 78-9 (9th Cir. 1983).

       A federal court’s jurisdiction is generally limited to cases involving

diversity of citizenship, 28 U.S.C. § 1332, a federal question, 28 U.S.C. § 1331, or

cases in which the United States is a party, 28 U.S.C. §§ 1345 and 1346. Sections

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   Pro se litigants are “bound by the rules of procedure.” Ghazali v. Moran, 46
F.3d 52, 54 (9th Cir. 1995).

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1345 and 1346 are not applicable in this case because the United States is not a

party to this action.

      The Court finds there is no basis for federal question jurisdiction over this

case under 28 U.S.C. § 1331. Poulson’s Complaint does not plead any cause of

action arising under the United States Constitution, or the laws or treaties of the

United States as required for jurisdiction under § 1331. Instead, Poulson’s

allegations refer to the Montana Code Annotated, and his right to pursue

happiness — a provision of the Montana Constitution. Mont. Const. art. II, § 3.

Although he refers generically to violations of his “constitutional freedoms,” he

does not specify whether he is referring to the Montana Constitution, or the United

States Constitution. Even assuming his reference is to the United States

Constitution, his allegations do not invoke any provision of the Constitution that

was violated by the purported conduct of Wendy. There exists no federally

protected constitutional right to happiness, or to be free from being accosted,

humiliated, yelled at, belligerence, or interference with his dog. Therefore,

Poulson’s pleading only advances claims for relief under Montana law and the

Montana Constitution. Thus, there is no basis for federal question jurisdiction

over this action.




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      The final alternative basis for jurisdiction over Poulson’s claims lies in the

diversity jurisdiction statute at 28 U.S.C. § 1332(a). Diversity jurisdiction under §

1332(a), however, requires complete diversity of citizenship between the plaintiff

and each of the defendants. Williams v. United Airlines, Inc., 500 F.3d 1019, 1025

(9th Cir. 2007) (citing Exxon Mobil Corp. V. Allapattah Services, Inc., 545 U.S.

546, 553 (2005). Each plaintiff must be a citizen of a different state than each of

the defendants. Morris v. Princess Cruises, Inc. 236 F.3d 1061, 1067 (9th Cir.

2001).

      Diversity of citizenship is lacking on the face of Poulson’s Complaint.

Poulson states he is a citizen of Montana, and that Wendy, the UC Campus

Building, and the University of Montana are citizens of Montana. Therefore, the

existence of non-diverse citizenship in this case defeats diversity jurisdiction.

      Poulson’s Complaint does not provide any other basis for federal

jurisdiction over this action. Therefore, based on the foregoing, IT IS HEREBY

RECOMMENDED that Poulson’s Complaint be DISMISSED for lack of

jurisdiction.

      DATED this 7th day of October, 2010.


                                         /s/ Jeremiah C. Lynch
                                        Jeremiah C. Lynch
                                        United States Magistrate Judge

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